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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-CR-00110-JAM
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   DORIAN MICHAEL WILLES,                               DATE: June 21, 2021
                                                          TIME: 2:00 p.m.
15                                 Defendant.             COURT: Hon. Carolyn K. Delaney
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on June 21, 2021.

21          2.       By this stipulation, defendant now moves to continue the status conference until June 29,

22 2021, at 2:00 p.m., and to exclude time between June 21, 2021, and June 29, 2021, under Local Code

23 T4.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The defendant previously made an appearance in the United States Court for the

26          District of Idaho.

27                   b)     A grand jury returned an indictment in this case on June 10, 2021. ECF No. 14.

28                   c)     The defendant’s initial appearance and arraignment in the Eastern District of


      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:21-cr-00110-DAD Document 24 Filed 06/21/21 Page 2 of 3


 1        California was originally scheduled to be June 18, 2021.

 2               d)      On June 17, 2021, President Joseph R. Biden, Jr. signed legislation establishing

 3        Juneteenth as a Federal Holiday (“the Juneteenth National Independence Day Act”). As

 4        Juneteenth fell on a Saturday, the holiday was observed – and federal employees were given the

 5        day off – on June 18, 2021. U.S. Courts were accordingly closed and this matter was continued

 6        by minute order to June 21, 2021. ECF No. 19.

 7               e)      Counsel for the defendant Chris Cosca is unavailable on June 21, 2021 given a

 8        pre-planned vacation. He is accordingly requesting a continuance of Mr. Willes’s initial

 9        appearance and arraignment.

10               f)      The government does not object to the continuance.

11               g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., the “the 70–day period commences only on the date when the defendant is brought before

13        a ‘judicial officer of the court in which the matter is pending,’ assuming that, as here, the

14        indictment predates the initial appearance. United States v. Palomba, 31 F.3d 1456, 1462 (9th

15        Cir. 1994) (quoting 18 U.S.C. § 3161(c)). Accordingly, the parties agree that no stipulations

16        with regard to the Speedy Trial Act need to be entered into, and the Speedy Trial Clock will

17        commence with the defendant’s appearance on June 29, 2021.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
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 2          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

 6

 7
     Dated: June 21, 2021                                      PHILLIP A. TALBERT
 8                                                             Acting United States Attorney
 9
                                                               /s/ Michael W. Redding
10                                                             Michael W. Redding
                                                               Assistant United States Attorney
11

12
     Dated: June 21, 2021                                      /s/ Chris Cosca
13                                                             Chris Cosca
14                                                             Counsel for Defendant
                                                               DORIAN Michael WILLES
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16

17
                                             FINDINGS AND ORDER
18

19
            IT IS SO FOUND AND ORDERED
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21
            Dated: June 21, 2021
22                                                     _____________________________________
                                                       CAROLYN K. DELANEY
23                                                     UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME                3
      PERIODS UNDER SPEEDY TRIAL ACT
